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UNITED STATES DISTRICT COURT \, &
SOUTHERN DISTRICT OF NEW YORK

 

xX -
In re Petition of Jaime Davidson, PETITION
seeking an Order directing
FCI Williamsburg, Salters, SC, Misc.

to Permit a Polygraph Examination of Jaime Davidson
by Polygraphist Robert Drdak.

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This Petition respectfully requests that the District Court So Order the attached proposed
Order directing that Williamsburg Federal Correctional Institution (FCI Williamsburg) located in
Salters, South Carolina, permit a polygraph examination of inmate Jaime Davidson, number
37593-053, to be conducted by retired FBI polygraphist Robert Drdak. This Petition respectfully
requests that the Order direct that the polygraph test be conducted before March 30, 2020.

Undersigned counsel has been representing Jaime Davidson, pro bono for over a decade.
Counsel has engaged Mr. Drdak to conduct the polygraph examination. He is highly regarded in
the polygraph community; is retired from the FBI where he conducted hundreds of polygraph
examinations for the government; and is licensed to do so in South Carolina. His curriculum
vitae is annexed to this Petition.

Undersigned counsel is in the process of preparing a clemency petition for Jaime
Davidson. Mr. Davidson’s prior attempts to obtain relief through the courts have been
unsuccessful. Mr. Davidson has been incarcerated since 1992; 28 years for a crime that the
evidence now shows he did not commit. As part of the clemency application, and counsel's

related efforts on his behalf, the polygraph examination is very important.
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WHEREFORE, it is respectfully requested that the Petition be granted and the proposed
Order be entered by this Court directing FCI Williamsburg to permit the polygraph examination
of inmate Jaime Davidson by polygraphist Robert Drdak on a date before the end of March,
2020.

Dated: March 10, 2020
New York, New York

Respectfully submitted,

f,.* :
Pobcedel—~
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UNITED STATES DISTRICT COURT €)
SOUTHERN DISTRICT OF NEW YORK Va fi

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In re Petition of Jaime Davidson,

seeking an Order directing

FCI Williamsburg, Salters, SC, Misc.

to Permit a Polygraph Examination of Jaime Davidson

by Polygraphist Robert Drdak. AFFIRMATION
X

 

Bettina Schein, an attorney duly admitted to practice law in the State of New York

since 1987, and before this Court, affirms under penalties of perjury as follows:

1. I am an attorney with offices located at 565 Fifth Avenue, New York, New York,
10017. I represent, pro bono, Jaime Davidson, an inmate (#37593-053) serving a life sentence in
FCI Williamsburg, 8301 Highway 521, Salters, SC 29590. This application is for an Order
directing that FCI Williamsburg permit Mr. Davidson to take a polygraph examination with
licensed and highly qualified polygraphist, Robert Drdak, who has been engaged by my office.
(Mr. Drdak’s curriculum vitae is annexed to this Application) I have been in close contact with
officials at FCI Williamsburg and they have advised that an Order is necessary for them to
permit the polygraph to proceed. I am fully familiar with the facts and circumstances discussed
herein.

2. This Application, and the information it contains, is part of pro bono counsel’s
ongoing efforts to seek clemency for Mr. Davidson.

3. Mr. Davidson was convicted in federal court in Syracuse in 1993 for a murder and
cocaine conspiracy that he neither participated in nor had anything to do with, and has thus far

served 28 years in prison.

4. The most critical factual issue at trial was whether Mr. Davidson was in Syracuse

at Gwendolyn Morrow’s apartment on Tuesday morning, October 30, 1990, the morning of the
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crime. It was there that certain young men met and plotted the afternoon drug deal that went
awry and resulted in the murder of undercover police officer Wallie Howard. Certain trial
witnesses claimed that Mr. Davidson was present in an apartment with these young men when
the plan was discussed. Years later, when they were no longer in their teens, some of these trial
witnesses recanted and have acknowledged that their trial testimony implicating Mr. Davidson
was false. In fact, as abundant evidence, including old (and new) witnesses, and a police
investigation conducted in 1990 shows, Mr. Davidson was in New York City on October 30,
1990 and had been so for over a week.

5, Nonetheless, at the trial in 1993, witnesses (who have now recanted) said that he
was in Syracuse on October 30, 1990 and was present for and participated in the planned drug
deal. That testimony, we now can prove, was false. But at the trial in 1993, the federal prosecutor
opened on it; witnesses falsely testified about it; and the prosecutor argued in his summation that
Mr. Davidson was in Syracuse on the morning of October 30" ; that he plotted the drug robbery
with co-defendants; and that he provided a weapon. None of this was true.

6. Mr. Davidson’s various appeals and petitions have thus far been unsuccessful.
However, as the years have passed, witnesses to these events have come forward to say the truth
- Mr. Davidson is innocent; that he was not in Syracuse; that he did not supply cocaine; and that
they testified falsely at trial and swore out false affidavits written for them 30 years ago by the
authorities. These witnesses are corroborated by family members and others who were
interviewed by the Syracuse police in 1990.

Th Specifically, to date, two critical witnesses, both of whom testified at trial that Mr.
Davidson was in Syracuse on October 30, 1990, and that he participated in the planned drug

deal, have fully recanted via sworn affidavit. They were mere teenagers at the time and were
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scared for their lives and futures. Their exculpatory information is fully corroborated by other
facts and by witnesses who were with Mr. Davidson in New York City on October 30, 1990.

8. But counsel’s efforts are not just about showing Mr. Davidson’s location on that
date, which was the critical fact for the jury, but also, on rebutting the claim at trial that Mr.
Davidson supplied cocaine as part of the drug conspiracy.

2: Undersigned counsel is seeking clemency. As part of that process, counsel has
been in close contact with officials at FCI Williamsburg to schedule a polygraph examination of
Mr. Davidson. I have been advised that the institution requests a Court Order in order to permit it
to proceed. I have already discussed potential dates and times with the institution.

10. For all of these reasons, undersigned counsel respectfully requests that this Court
Order that FCI Williamsburg permit Mr. Jaime Davidson, inmate number 37593-053, to be
examined by polygraphist Robert Drdak at a date and time to be determined by the parties. A
proposed Order is attached to this Petition.

WHEREFORE, the requested relief should be granted in its entirety.

Dated: New York, New York
March 10, 2020

Bettina Schein
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Robert J. Drdak

rdrdak@gmail.com
704-968-0203

 

 

Retired Special Agent
Federal Bureau of
Investigation

Former Chief of FBI Polygraph
Program in North Carolina

Over 27 Years Polygraph
Experience

Extensive Experience in
Sensitive / High Profile Cases

Well Known and Respected
by Legal, Judicial, and Law

Enforcement Communities
National Reputation

Impeccable Credentials

Respected Polygraph
Educator

State of the Art Equipment
Validated Testing Procedures

Licensed in North & South
Carolina

Member:

American Polygraph
Association

American Association of
Police Polygraphists
(Certified)

American Association of
Testing Materials

North Carolina Polygraph
Association (Past President)

South Carolina Association of
Polygraph Examiners (Charter
Member)

Society of Former Special
Agents of the Federal Bureau
of Investigation

Post Office Box 7366
Charlotte, North Carolina
28241

 

 

Robert J. Drdak has over 47 years of law enforcement and related experience. He was
appointed by J. Edgar Hoover as a Special Agent of the Federal Bureau of Investigation
(FBI) and served in that capacity for almost 28 years before retiring in December 1999.
During his FBI service, Mr. Drdak was instrumental in the management, investigation,
and prosecutions of major high profile cases throughout the United States. He has
extensive experience in a broad spectrum of criminal investigations ranging from the
most violent street crimes to the most sophisticated criminal organizations involved in
white color crime and public corruption. He has had firsthand experience in highly
classified national security matters. He served as the Behavioral Science / Criminal
Profiling Coordinator and manager of the Criminal Informant Program for the Charlotte
Division of the FBI. From 1988 until he retired, Mr. Drdak was the senior examiner and
manager of FBI polygraph operations in North Carolina. He has received numerous
awards and commendations from various Directors of the FBI.

Mr. Drdak is a 1968 graduate of Wake Forest University. His polygraph related
experience is extensive. He graduated from the Department of Defense Polygraph
Institute (currently named the National Center for Credibility Assessment —NCCA) in
1988 and the University of Virginia /FBI course in Advanced Polygraph Science in 1990.
NCCA is considered the finest polygraph education facility in the world. He has received
over 2500 hours of basic and advanced instruction in polygraph and related
investigative disciplines. He is a qualified expert witness in state and federal courts.
Since his retirement from the FBI, he has served as an instructor at NCCA and an adjunct
instructor. He has been a visiting instructor at the NE CTC Polygraph School and has
presented blocks of instruction at national and state training seminars. Mr. Drdak
authored several published articles on polygraph as well as advanced instructional
material.

Since his retirement from the FBI, Mr. Ordak has performed polygraph related services
for the FBI, the Federal Bureau of Prisons, the Department of Energy Office of
Counterintelligence, the Department of Defense, the United States District Court, and
numerous local law enforcement agencies. He is well known and respected by the
judicial, legal and law enforcement communities. During his polygraph career he has
conducted in excess of 5000 polygraph examinations, many in sensitive high profile
cases including the Duke University Lacrosse case, the two largest armored car thefts in
US history, the Eric Rudolph / Atlanta Olympics bombing investigation, the Oklahoma
City bombing investigation and numerous classified national security initiatives. He has
acted as a consultant for NBC News/Dateline, Fox Financial News, WRAL-TV, and the
Discovery Channel.

Mr. Drdak specializes in performing polygraph examinations in difficult cases where
successful results are critical and experience, credibility, and knowledge are paramount.
He has conducted polygraph examinations for prominent law firms, Fortune 500
corporations, and major law enforcement agencies in North and South Carolina. He has
extensive experience performing polygraph examinations in capital cases and sex
related criminal matters as well as sophisticated white collar crime investigations.
